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                              UNITED STATES DISTRICT COURT
                                      DISTRICT OF NEVADA
 UNITED STATESOFAM ERICA,                         )
                                                  )
                         Plaintifll               )
                                                  )
           v.                                     )           2:08-CR-31l-RLH (GW F)
                                                  )
 HAGOB PALIKYAN,                                  )                                        .
                                                  )                                        !
                         Defendant.               )                                        I
                                                                                           i
                                FINAL O RDER O F FO RFEITURE                               l
           On M arch 3,2011,the United StatesDistrictCourtforthe DistrictofNeva/
                                                                               'a entered a
                                                                                           i
 PreliminaryOrderofForfeiturepursuanttoFed.R.Crim.P.32.2(b)(1)and(2);Title18,YnitedStates
          '                                                                  j
 Code,Section981(a)(1)(C),andTitle28,UnitedStatesCode,Section2461(c);andLpnitedStates
                                                                             !
 Code,Section 1O28A(a)(1)and (c)(4),based upon the plea ofguilty by defendjntHAGOB
                                                                                           I
 PALIKYAN to crim inaloffenses,tbrfeiting specitic property alleged in the Second Superseding
                                                                                           2
 IndictmentandagreedtointhePleaMemorandumandshownbytheUnitedStatestohay:earequisite
 nexustotheoffensetowhichdefendantHAGOB PALIKYAN pledguilty.Docket//1û3,288,289.
           ThisCourtfindstheUnited StatesofAmericapublishedthenoticeofthet
                                                                         !
                                                                          orfeiturein
 accordance w ith the 1aw via the ofticial govem m ent internet forfeiture site, www.fcifeiture.gov,
                                                                                           i
 consecutivelyfrom March22,2011,throughtoApril20,201l,notifyingalIknownthjrdpartiesof
 th                                                                                        !
     eirrightto petition the Court.//308.                                                  i
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                                                                                           l
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     Case 2:08-cr-00311-MMD-GWF           Document 329        Filed 06/10/11     Page 2 of 4




 l             This Courtfinds no petition w asfiled herein by oron behalfofany person orentity and the
2 tim e fortiling such petitions and claim shasexpired,
 3             ThisCoul-
                       ttindsno petitionsare pending w ith regard to the assetsnam ed herein.and the tim e
4 forpresenting such petitionshasexpired.
 5             TH EREFORE IT IS H EREB Y ORD ERED ,A D JU D GED ,AN D D ECREED t
                                                                               :hata11right,
                             ,
6                                                                                           i
       title,and interestin theproperty hereinafterdescribed iscondemned,forfeited,and yested in the
                                                                         l
7 Unhed StatesofAmerica pursuantto Fed.R.Crim.P.32.2(b)(4)(A)and (B);Fed.iR.Crim.P.
 8 32.2(c)(2);Title l8,United StatesCode,Section 981(a)(1)(C),and Title28,United dtatesCode,
9 Section2461(c);Title18,UnitedStatesCode,Section l028A(a)(1)and(c)(4);andTitle21,United
10 StatesCode,Section853(n)(7)andshallbedisposedofaccordingtoIaw:
1l             a.    Sony Brow n 42'.Lcd Tv,Sm 1050106;
               b.    SonyBrown 42,.Lcd TvsSm 1002050;
12             c.    DellM odel1320 LaserPrinter,Sm 35rphf1;                                 ;
                                                                                             '
               d.    DellM odel1850 LaserPrinterlSm H 1c34091;                               j
13             e.    AcerLaptop,Sm Lxal70x043820001eQ 513;                                   ;
               f.    DellXpsLaptop,Sm 5vg3kdl;                                               j
14 !           g.    AppleM acLaptop,S/hlW 8807f5dop1;                                       1
  I!
   '           h.    Hp Laptop,S/N 2c27222m 6q;                                              1
151lI
  .            i. MjcBookAir,Sm W88l3ppuy51;                                .
              j.     M lscellapeousCardssCablej,Remotes,Controllers,Stands;
161
  '
   t           k.    3.5 X Drlve,Extend Harddnve,Sm 020851;
  ;            1.    Apple Tv,Sm 6fB182w 04cp;
17jI
   1           m, Wd
               n, M srExter
                      206 nalHdear
                          Enco   rdDrivA0l
                                  rSm  e,S/
                                          5NWx
                                           401;1
                                               :207674808;
1861           o,    PspPortable,Sm Pp865026504-Psp1001;                                     j
               p.    Psp Portable,Sm 2$4045924040-Psp2001;
19             q.    IpodTouch 16Bg,Sm 1c8016714p4                                           i
                                                                                             ,

               r.    Iphone,Sm 5k81880jwh8;
20            s.     Iphone,Sm Bcga1241;
              t.     Iphone,Sm 5k8024711w1:8)
21            u.     IphonesSm 579ca1241;
              V.     Sandisk 2 G b Flashdrive,Sm 2048rb;
22            w.     Sandisk 4 G b Flashdrive,Sm 4096+ ;
              x,     Sandisk 1Gb FlashdriveyS/hll024rb;
23            y.     PnyAttache1GbFlajhdrive,NoSm ;
               z. Logitech M x Revolutlon n um bdrive,Sm 810-000412;
24             aa. Iron K ey Thum bdrive,Sm 0140485)
               ab. Iron K ey Thum bdrive,Sm 0140551;
25            ac. DellXpjTower,Sm 30gzcgl;                                                                   ,
26            ad. Playstatlon3,S/hiCe124062502-Cecha01;
              ae. Playstatlon 3,Sm C+514635354-C+c11g01;
                                                                                                             g
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 1           af. Xbox 360,Szç 311730682105,                                                     i
             ag. X box 360,N o S/N ;                                                            '
 2           ah. 1 -Xbox 360 V ideo Gam e;                                                      ;
                                                                                                .
             ai. 1l-Playstation 3 Video Games;                                                  j
 3           aj. 6-PspGamesInCase;                                                              I
             ak. 35 -Blue Ray M ovies;                                                          p
 4           a1. Wtj-goaTipper'
                              ,                                                                 1
             am. $3,000Cash(From Gal'yAmbartsumyan'srooml;
 5           an. $4900Cash(From AdurAmbartsumyan'srooml;
             ao. $14,802.63 in M oney Grmn M oney Orders'
                                                        ,                                   .
 6           ap. M ens'Breitling Bentley W atch,Sm A 25362.   ,and
             aq. M ens'Breitling Bentley W atch;
 7           ar counterfeitaccessdevice containing unauthorized accountinformation forVisa
                  debitcard accountin the nam e ofM ,V .,accountnum berending in X -4923,
                                                                                        .
 8           as, counterfeitaccessdevicecontaining unauthorized accountinformation forVisa
                  debitcard accountinthenameofG .V.,accountending in X-2319.     ,
 9           at. cotmterfeitaccessdevicecontaining unauthorized accountinformation forVisa
                  debitcard accountin the nam e ofC .D .,accountending in X -1918;
10           au. counterfeitaccessdevicecontaining unauthorized accountinformation fora
                  Bank ofAm erica V isa debitcard account,accountending in X-7119;
11           av. counterfeitaccessdevicecontaining unauthorized accountinformation forBank
                  ofAm ericaVisadebitcardaccountin the name ofJ,R.,accountending in X-
l2                4609' ,
  !          aw . counterfeitaccessdevicecontaining unauthorized accountinformation fora
131
  '
   :              Bank ofAm ericaVisadebitcardaccountin thenmne ofB.J,,accountending
  !1              in X -1577.
                            ,
1491
   )         ax.   counterfeitaccessdevicecontaining unauthorized accountinformation fora
  7:               BmzkofAmericaVisadebitcardaccount,accountending in X-8491;
158
  ,          ay. counterfeitaccess device containing unauthorized accountinform ation forBank
   l             ofAmericaVisa debitcard account,
16l          a,
              z counterfeitaocessdevicecontainingu
                                                 an
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                                                                          or
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                                                                           .mationforBank
                 ofAmericaVisa debitcard account,accountending in X-9612.      ,
17          aaa. counterfeitaccessdevicecontainingunauthorized accountknformation forBank
                 ofA m erica Visa debitcard accountin the nam e of G ,S., accountending in X-
18               2034,.
            aab. counterfeitaccessdevicecontainingunauthorized accountinformation forBank
19               ofAmerica Visa debitcard accountin thenameofC.S.,accountending in X-
                 3846,.
20          aac. counterfeitaccessdevice containing unauthorized accountinform ation forBank    I
21                 o0
                   5f1
                     Ame
                      0 ricaVisadebitcardaccotmtinthenameofS.K.,accotmtendinginX-
                       *
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            aad. countedkitaccessdevicecontaining unautholized accountinform ation forBank      !
22               ofA5m erica V isa debitcard accountin the nam e ofE.H,,accountendinginX-
                 427                                                                            I
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                       .
                       ,
23          mae. counterfeitaccessdevicecontaining unauthorized accountinformation forBank
                 ofA m erica Visa debitcard accountin the nam e ofB .W .,accountending in X -
24               734 l;                                        .

            M f. counterfeitaccessdevicecontaining unauthorized accountinform ation forBank
25               ofA m erica V isa debitcard account,accountending in X -3019;
261i ...
  1;
  ((                                              3
Case 2:08-cr-00311-MMD-GWF            Document 329           Filed 06/10/11   Page 4 of 4



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         mag. counterfeitaccessdeviceconuining unauthorized accountinformation forBank
              ofAmerica Visadebitcard accotmtin the name ofD.R.,accountending in X-
               4018;
          aah. counterfeitaccessdevicecontaining unauthorized accountinform ation forBank
               ofAmerica Visadebitcard account,accountending in X-7017;
          aai. counterfeitaccessdevicecontainingunauthorizedaccountinfonnationtorBarlk
                 ofAmerica Visadebitcard account,accountending in X-6691;              :
         aaj. counterfeitaccessdevicecontainingunauthorizedaccountinformationfor
                 W ellsFargo debitcard account,numberending in X-4424;                 '
         aak. counterfeitaccessdevicecontainingunauthorizedaccountinformationfora
                 W ellsFargo debitcardaccount?accountnum berending in X-7930)          !
         aal. counterfeitaccessdevicecontalningunauthorized accountinform ation fora
               W ellsFargo debitcardaccount,numberending in X-6l10;        ;
         aam . 2008 W hite BM W M 5,Vm W BSNB93548CX09044'    ,
         man. 2008 Black M ercedesBenz 0-500 W agon,V m W D CY R49E38X 1715 6;
          aao, 2006Black Quad CabDodgeDakotaTruck,Vm 117711A18286218501 ;and
          aap. aninpersonam criminalforfeituremoneyjudgmentof$663,089.35in nited
                StatesCurrencyCktheproperty'').
          IT IS FURTHER ORDERED, ADJUDGED,AND DECREED thatanyandj         Iallforfeited
 funds,includingbutnotlimitedto,currency,currencyequivalents,certificatesofdeposjt,aswellas
 any incom ederived asaresultoftheU nited StatesofA m erica'sm anagem entofany property forfeited
 herein,and theproceedsfrom thesaleofanyforfeited propertyshallbedisposedofaccordingtolaw .
         Tbe Clerk ishereby directed to send copies ofthisO rderto a11counselofrecord and three
 certified copies to the U nited StatesA ttorney'sO ffice.

         DATED this tr              dayof                      ,20l1.
                                                                                       i
                                               UNITED STATES DISTRICT JUDGE I




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